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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re

NEW CENTURY TRS HOLDINGS, INC.,                 Chapter 11
et al.,                                         Case No. 07-10416-KJC

                      Debtor.


                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 6, 2007, copies of the foregoing Motion for

Relief from Automatic Stay Under § 362 of the Bankruptcy Code, notice, and proposed order

were served upon the parties listed on the attached matrix in the manner stated.



Dated: November 6, 2007                       /s/ Adam Hiller
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